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EXHIBIT A TO HINGERTON
DECLARATION
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FREQUENTLY ASKED QUESTIONS REGARDING RECENT CHANGES
TO NEW YORK STATE FIREARM LAWS

These Frequently Asked Questions (FAQs) provide information on New York State’s
newly enacted firearms law. These questions and answers are not intended to be
exhaustive, nor do they constitute legal advice.
Please review the information that follows to learn more about how to obtain a firearm
license, including new requirements for an in-person interview, firearm safety training,
and additional resources for hunters, gun owners, and retailers.
Additional information can be found at:
New York State Police’s Firearm Website &
New York State Department of Environmental Conservation’s Website

Q1) Do | need a license to possess a pistol or revolver in New York State?

A) Yes. You are still required to have a license to possess a pistol or revolver.* Nothing
in the recent United States Supreme Court decision changes this fact.

*Note: Requirements for a semi-automatic rifle are addressed in Questions 19-21.

Q2) What are the most common types of licenses for a pistol or revolver in New
York State?

A) The two most common licenses for a pistol or revolver are a license to “have and
possess’ and a license to “have and carry concealed.”

A “have and possess” license is commonly referred to as a “premises license,” which
authorizes the license holder to possess a firearm at a certain location such as their
home or place of business

A “have and carry concealed” license is commonly referred to as a “concealed carry
license,” which authorizes the license holder to carry a pistol or revolver on their person.

Q3) Are the terms “license” or “permit” the same?
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A) Yes. The terms license and permit are used interchangeably.
Q4) What are the new requirements to obtain a concealed carry license?

A) The new requirements to obtain a concealed carry license are:
e proof of completion of a firearms safety training course (see Questions 11-18);
e four character references;
e alist of former and current social media accounts for the last three years:
e disclosure of applicant's spouse or domestic partner, any other adults residing in
the applicant’s home, including any adult children of the applicant, and
¢ an in-person interview of the applicant with the licensing officer/designee.

For more information, please visit the State Police's Firearm webpage or contact your
county/local licensing officer.

Q5) Am | required to show a need for self-defense to get a pistol or revolver
license?

A) No. You are not required to show a need for self-defense to get a pistol or revolver
license.

Q6) Are retired law enforcement officers required to apply for a concealed carry
license?

A) Yes. Retired law enforcement officials will need to apply for a concealed carry
license.

Q7) How and when do | apply for a firearm license?
A) You can apply for a firearm license to your county/local licensing officer at any time.
Please visit State Police’s Firearm webpage for more information on how to apply for a

pistol or revolver license.

Recertification/Renewal

Q8) What is the difference between renewal and recertification of my pistol or
revolver license?

A) A pistol or revolver license issued by New York City or Westchester, Nassau, and
Suffolk counties expires and needs to be renewed every 3 years.
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A pistol or revolver license issued outside of those areas does not expire, but the
license holder must recertify with the New York State Police every 3 years for a
concealed carry license and every 5 years for other types of licenses.

Q9) How does the new law impact the recertification due date of my pistol or
revolver license?

A) If you have a New York State concealed carry license, you are now required to
submit your recertification to the New York State Police every 3 years after issuance
instead of 5 years.

The new law does not change the recertification requirements for a premises license,
which must be recertified every 5 years.

Q10) How does the new law impact the renewal of my pistol or revolver license?

A) A concealed carry pistol or revolver license issued by New York City, Westchester,
Nassau, and Suffolk counties now expires every 3 years.

Training
Q11) Who is required to take the new firearm safety training course?

A) Any individual who seeks to obtain a concealed carry license for a pistol or revolver
will be required to take the 16-hour classroom and 2-hour live-fire firearm safety training
course. This will be required for concealed carry licenses issued on or after September
1, 2022.

Individuals renewing their license in New York City or Westchester, Nassau, and Suffolk
counties must complete the training.

Q12) Where will | take the required firearm safety training course? How much will
it cost?

A) The firearm safety training course will be provided by authorized instructors, in
accordance with standards published by the New York State Police and the New York
State Division of Criminal Justice Services (DCJS). Training costs and locations will be
set by the instructor.

Q13) When will | need to take the firearm safety training course?

A) Proof of completion of the firearm safety training course is required to obtain a
concealed carry license on or after September 1, 2022.

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Local licensing officers have the discretion to determine whether a portion or all of the
firearms training requirement is satisfied for those applicants who completed a firearm
safety course in the previous 5 years.

Q14) Do | need to take the firearm safety training course if | already have a
concealed carry license that was issued outside of New York City or Westchester,
Nassau, or Suffolk counties?

A) No. Existing concealed carry pistol or revolver license holders with licenses that were
issued outside of New York City or Westchester, Nassau, or Suffolk counties are not
required to take the firearm safety training course.

Q15) If | am renewing my concealed carry license in a jurisdiction where it has an
expiration date, (i.e., New York City, and Westchester, Nassau, and Suffolk
counties) will | need to take the firearm safety training course before renewing?

A) Yes. An individual seeking to renew a concealed carry license on or after September
1, 2022, will need to complete the firearm safety training course.

Local licensing officers have the discretion to determine whether a portion or all of the
firearms training requirement is satisfied for those applicants who completed a firearm
safety course in the previous 5 years.

Q16) If | have an existing concealed carry license that was issued outside of New
York City or Westchester, Nassau, or Suffolk counties and | am recertifying it with
the New York State Police, will | need to take the firearm safety training course
before recertifying?

A) No. The firearm safety training course is not required to recertify your concealed
carry license with the State Police.

Q17) Are active or retired law enforcement or former military personnel exempt
from having to take the firearm safety training course?

A) The firearm safety training requirements apply to all applicants for a concealed carry
license. This includes retired law enforcement and former military personnel.

Local licensing officers have the discretion to determine whether a portion or all of the
firearms training requirement is satisfied for those applicants who completed a firearm
safety course in the previous 5 years.
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Further, local licensing officers may satisfy the training requirement for active or retired
military personnel or law enforcement officers who received firearm training, in excess

of the standards set forth for the firearm safety training course, as a component of their
service or profession (e.g., the New York State Basic Course for Police Officers).

Q18) If | only want a firearm in my residence and do not want to carry concealed,
do | still have to take the firearm safety training?

A) No. Premises license holders are not required to take the firearm safety training
course. The firearm safety training course requirement applies to concealed carry
licenses.

Semi-Automatic Rifle License

Q19) How do I apply for a Semi-Automatic Rifle License?

A) Starting September 4, 2022, you may apply for a Semi-Automatic Rifle License
through your county/local licensing officer. Existing firearm license holders can add a
Semi-Automatic Rifle to their firearm license through their local licensing officer.

A Semi-Automatic Rifle License is required to purchase or take ownership of a semi-
automatic rifle on or after September 4, 2022.

Q20) Do I need a Semi-Automatic Rifle License to keep a semi-automatic rifle |
currently own?

A) Any person that lawfully possesses a semi-automatic rifle prior to September 4,
2022, will not be required to obtain the Semi-Automatic Rifle License.

The Semi-Automatic Rifle License is only required for persons acquiring a semi-
automatic rifle on or after September 4, 2022.

Q21) Has the age requirement changed to acquire and/or possess a semi-
automatic rifle?

A) Yes. Starting on September 4, 2022, the minimum age to purchase or take
ownership of a semi-automatic rifle is 21 years old. If you are younger than 21 years
old, and lawfully acquired a semi-automatic rifle prior to September 4, 2022, you may
continue to possess that rifle.
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Restrictions on Carrying Firearms in Certain Locations

Q22) Are individuals who have a premises license now able to carry a concealed
pistol or revolver outside their home?

A) No. You would need to obtain a concealed carry license. You cannot legally carry a

concealed pistol or revolver outside of your home in New York State if you only have a

premises license, which only allows you to possess a pistol or revolver in your home or
place of business.

Q23) What are the places, under the new law, where | cannot bring a firearm, rifle,
or shotgun?

A) Effective September 1, 2022, the possession of a firearm, rifle, or shotgun is
prohibited in sensitive locations. Under the law, the following are considered sensitive
locations:
e Any location owned or under control of federal, state, or local government for the
purpose of government administration, including courts;
e Any location providing health, behavioral health, or chemical dependence care or
services;
e Places of worship or religious observation;
e Libraries, public playgrounds, public parks, and zoos;
e NYS Office of Children and Family Service licensed or funded facilities (child-
care facilities);

Nursery schools, preschools, summer camps;

NYS Office for People with Developmental Disabilities licensed or funded

facilities;

NYS Office of Addiction Services and Supports licensed or funded facilities:

NYS Office of Mental Health licensed or funded facilities;

NYS Office of Temporary and Disability Assistance licensed or funded facilities;

Homeless shelters, family shelters, domestic violence shelters;

NYS Department of Health licensed or funded residential facilities;

Colleges, universities, private schools, public schools, and other educational

institutions;

e Public transportation and transit facilities:

e Bars and restaurants serving alcohol, and on-premises cannabis consumption
locations;

e Theaters, stadiums, racetracks, museums, amusement parks, performance
venues, concert halls, exhibit halls, conference centers, banquet halls, gaming
facilities, video lottery terminal facilities as licensed by the gaming commission;

e Polling places;
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e Public sidewalks and other public areas that are restricted from general public
access for a limited time or special event:

e Gatherings of people to collectively express their constitutional rights to
assemble or protest; and

e Times Square (with boundaries determined by New York City).

Q24) If | have a concealed carry license, can | carry my pistol or revolver to
sensitive locations?

A) No. Subject to exceptions for certain individuals (see Question 25), Penal Law
§265.01-e prohibits bringing any pistol, revolver, rifle, shotgun or any other firearm to a
sensitive location — even if you have a concealed carry license.

Q25) Are there any exceptions to this rule? Is anyone exempt from the prohibition
of possession of firearms, rifles, or shotguns in sensitive locations?

A) Yes, the law exempts the following persons:
e Police officers in New York State, as defined in Criminal Procedure Law
§ 1.20(34), and those who were employed as police officers in New York State
but are retired;
e Retired law enforcement officers who qualify under 18 U.S.C. 926(C)(the Law
Enforcement Officers Safety Act, or LEOSA);
Peace officers in New York State, as defined in Criminal Procedure Law § 2.10;
Armed security guards registered by the NYS Department of State while working;
Active-duty military personnel;
Persons licensed under paragraph c, d, or e subdivision 2 of § 400.00 of the
Penal Law while in the course of official duties;
e Persons lawfully engaged in hunting activity, including hunter education training;
e Persons operating a program in their home that would otherwise be considered a
sensitive location, however, such possession must comply with any rules or
regulations (e.g., safe storage); and
e Government employees with agency consent, for the purpose of natural resource
protection.

Q26) Is it a crime to enter another person’s property, also known as a “restricted
location” under the law, with a firearm, rifle, or shotgun without the owner’s or
lessee’s consent?

A) Subject to exemptions for certain individuals, you can only enter another person’s
property with a firearm, rifle, or shotgun when the owner or lessee has specifically
posted that it allowed, or the owner or lessee has expressly consented. Consent to
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carry must be reflected by clear and conspicuous signage or express verbal consent
from the owner or lessee. (Penal Law § 265.01-d)

Q27) Is anyone exempt from the prohibition of possession of firearms, rifles, or
shotguns in restricted locations?

A) Yes, the law exempts the following persons:

e Police officers in New York State, as defined in Criminal Procedure Law
§ 1.20(34), and those who were employed as police officers in New York State
but are retired;
New York peace officers, as defined in Criminal Procedure Law § 2.10;
Armed security guards registered by the Department of State while working;
Active-duty military personnel:
Persons licensed under paragraph c, d, or e subdivision 2 of § 400.00 of the
Penal Law while in the course of their official duties; and
e Persons lawfully engaged in hunting activity, including hunter education training.

Q28) Can I possess a firearm, rifle or shotgun in the Adirondack and Catskill
Parks?

A) Certain areas of the parks are not considered “sensitive locations” under the law, as
the state- owned or managed lands are legally classified as state forest preserve or are
generally private lands.

There are areas inside the Adirondack and Catskill Parks, however, that are classified
as sensitive locations or restricted locations under the new gun law (e.g., libraries and
government administrative facilities) and these specific locations are subject to the
sensitive and restricted location restrictions under the law, which are detailed in
Question 23.

Please review the Department of Environmental Conservation’s FAQs for more
information.

Safe Handling and Storage Law Changes

Q29) How does the new law impact transporting guns in a vehicle?

A) Effective September 1, 2022, if you leave your gun unattended in a vehicle, it must
be unloaded and locked in a fire, impact, and tamper resistant storage depository that is
hidden from view. Glove compartments and glove boxes are not appropriate safe
storage depositories. A plastic or aluminum, lockable, hard-sided, gun case or safe will
suffice for this purpose.
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If an adult remains with the vehicle to ensure security, a case or safe is not required. To
prevent theft and ensure safety, it is always recommended that firearms be secured
during transport.

Local rules for traveling with firearms also apply and may be more restrictive. For
example, New York City requires that all guns be unloaded, in a case, and out of sight,
even when you are with the vehicle (Penal Law § 265.45).

Q30) How am | required to store my guns in my home?

A) If anyone younger than 18 years old or anyone who is prohibited from possessing a
gun resides in the home, all firearms, rifles, and shotguns not in your immediate control
must either be:
e secured with a gun locking device (trigger lock or cable lock) that makes them
incapable of being accessed or fired by the prohibited individual, or
e locked securely in a safe or secure container that is fire, impact, and tamper
resistant and which is locked using a key, keypad, or combination.

Hunting and Hunting Education Activities

Q31) Where can | find more information about how the recent law changes apply
to hunting and educational activities?

A) Please review the Department of Environmental Conservation’s FAQs for more
information.
